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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 DOS BOWIES, LP et al.,                                       :
                                              Plaintiffs, :
                                                              :   20 Civ. 2479 (LGS)
                            -against-                         :
                                                              :        ORDER
 JAMES A. SEIJAS, et al.,                                     :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order, dated March 30, 2021 (Dkt. No. 51), stayed dismissal of the

Complaint’s claims against Defendant Tran and directed him to file status letters every sixty days

informing the court of the status of his bankruptcy proceeding, filed on July 29, 2020, in the

Middle District of Florida (the “Bankruptcy Proceeding”).

        WHEREAS, Defendant Tran did not timely file the most recent status letter. It is hereby

        ORDERED that as soon as possible and no later than July 6, 2021, Defendant Tran shall

file a status letter per the Individual Rules apprising the Court of the status of the Bankruptcy

Proceeding.

Dated: July 1, 2021
       New York, New York
